


  PER CURIAM.
 

  The amended petition is granted and Jonathan Mosby is hereby afforded a belated appeal from judgment and sentence in Duval County Circuit Court case number 2008-CF-13598-AXX. Upon issuance of mandate in this cause, a copy of the opinion shall be provided to the clerk of the circuit court for treatment as a notice of appeal. Fla. R.App. P. 9.141(c)(5)(D).
 

  The circuit court is directed to appoint counsel to represent Mosby in the appeal if he qualifies for such an appointment.
 

  PETITION GRANTED.
 

  WOLF, VAN NORTWICK, and ROBERTS, JJ., concur.
 
